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 1   Joshua W. Carden, SBN 021698
     JOSHUA CARDEN LAW FIRM, P.C.
 2
     16427 North Scottsdale Road, Suite 410
 3   Scottsdale, AZ 85254
     joshua@cardenlawfirm.com
 4   (480) 454-1100
 5   (480) 454-1101 (fax)
     Attorney for Plaintiff
 6
     R. Shawn Oller; AZ Bar No. 019233
 7
     Melissa L. Shingles; AZ Bar No. 032645
 8   LITTLER MENDELSON, P.C.
     Camelback Esplanade
 9   2425 East Camelback Road Suite 900
10   Phoenix, AZ 85016
     soller@littler.com
11   mshingles@littler.com
     Telephone: 602.474.3600
12
     Facsimile: 602.957.1801
13   Attorneys for Defendant
14
                                    IN THE UNITED STATES DISTRICT COURT
15                                       FOR THE DISTRICT OF ARIZONA
16   Bretta K. Ferrie,
                                                                CASE NO. CV-19-05741-PHX-GMS
17
                                      Plaintiff,
18   v.
                                                                JOINT STATUS REPORT RE:
19   Ryan, LLC,                                                 SETTLEMENT DISCUSSIONS
20
               Defendant.                                       (Assigned to the Honorable G. Murray Snow)
21
22             Plaintiff and Defendant submit this report on the status of the case:
23             Settlement discussions: The parties met virtually in good faith on August 21, 2020, but were unable
24   to settle the case. The Parties intend to meet again to conduct further settlement discussions.
25             Respectfully submitted on this 26th day of August, 2020.
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     JOSHUA CARDEN LAW FIRM, P.C.
 2                                                       LITTLER MENDELSON, P.C.

 3   By: /s/Joshua W. Carden                            By: /s/R. Shawn Oller (with permission)
     Joshua W. Carden                                   R. Shawn Oller
 4   Attorneys for Plaintiff                            Melissa Shingles
                                                        Attorneys for Defendants
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